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IN THE UNlTED STATES DISTRICT CoURT F“~ED BY -1"-1~¢ "` D»O»
FOR THE wESTERN DISTRICT 0F TENNESSEE

 

 

 

 

WESTERN DIVISION 05 JuL '5 PH " l'!
'i` " ' .
CLEHK. U.S. E?-‘;SWT C(l.lRT
Plaintiffs, )
)
v. ) No. 00~2608
)
CITY OF MEMPHIS, et al, )
)
Defendants. )
FLORENCE BILLINGSLEY, et al, )
)
Plaintiffs, )
) Consolidated Nog;
v. ) 04-2013
) 04-2017
CITY OF MEMPHIS, et al, )
)
Defendants. )
ORDER ON TRIAL SCHEDULE
The trial of these matters will proceed in accordance With the Trial Schcdule Set forth
below:
DATE TI E
Week One:
Monday, July ll, 2005 9:00 a.m. - 12:30 p.rn.
2:00 p.m. - 5:00 p.m.
Tuesday, July 12, 2005 9:00 a.m. - 12:30 p.m.

2;00 p.m. - 4:45 p.m.

  

Thfs document entered on the docks
with Ruie 58 and/or 79{€\) FRCP on

 

Case 2:O4-cV-O2013-STA-egb

Wednesday, July 13, 2005

Thursday, July 14, 2005
Friday, July 15, 2005
Week Two:

Monday, .luly 18, 2005

Tuesday, .luly 19, 2005

Wedriesday, July 20, 2005

Thursday, July 21, 2005

Friday_, July 22, 2005

Week Three:

Monday, July 25, 2005

Tuesday, July 26, 2005

Wednesday, July 27, 2005

Thursday, July 28, 2005

Friday, July 29, 2005

 

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9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.

Off

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

1:00 p.m. - 5:30 p.m.* (tentative)

9:00 a.rn. -12:30 p.m.
2:00 p.m. ~ 5:00 p.m.* (tentative)

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

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2100 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

’ Hearings in a criminal matter are currently scheduled for July 21-22; thus, for speedy trial reasons, the
civil trial may not go forth on these dates. The Court will notify the parties as soon as possible whether the trial will
be heard on July 21 and 22.

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All parties are urged to communicate and prepare to present the evidence as efficiently as

possible

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UNITED STATES DISTRICT JUDGE

 

oF TNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:04-CV-02013 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

